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lN THE UN|TED STATES DlSTR|CT COURT A 1 7 w
FOR THE WESTERN D|STR|CT OF TENNESSEE

WESTERN D|VISION 'rhorn¢s M. Gouid. crm
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w. o.oFrN, mm

UN|TED STATES OF AMERICA, FlLED UNDER SEAL

P|aintiff, CR. NO. 05" 2 0 5 0 8 U v
vs.

PATR|CK D. MAXWELL

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KlMBERLY MAwaLL, )
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)

Defendants.

 

ORDER SEAL|NG lNDlCTMENT

 

Upon motion of the United States and for good cause shown, the indictment against

the above-named Defendants is hereby ordered sealed until further order of the Court.

C§.//');'W. {,¢.

UN\TED sTATEs MAGlsTRATE JuDGE
DATE: J}¥`-'D-of

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This notice confirms a copy of the document docketed as number 4 in
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Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

